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     COUNTY OF MARIN
 6
 7
                                     UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9
10
11   SEAPLANE ADVENTURES, LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF BRANDON W.
                                                              HALTER IN SUPPORT OF DEFENDANT
13                 Plaintiff,                                 COUNTY OF MARIN’S MOTION FOR
                                                              SUMMARY JUDGMENT
14          v.
                                                              Complaint filed: September 2, 2020
15   COUNTY OF MARIN, CALIFORNIA; AND
     DOES 1 THROUGH 10, Inclusive,                            Date:      October 7, 2021
16                                                            Time:      8:00 AM
                                                              Judge:     Honorable William Alsup
17                 Defendant.                                 Dept:      Courtroom 12, 19th Floor
18
19
20          I, BRANDON W. HALTER, declare as follows:
21           1.    I am a Deputy County Counsel in the Office of the County Counsel, attorneys of record
22   for Defendant County of Marin (“County”). I am licensed to practice law in the State of California and
23   before this court, and submit this declaration in support of County’s motion for summary judgment. I
24   have personal knowledge of the contents of this declaration, except as to any matters stated on
25   information and belief, and as to those matters, I am informed and believe them to be true. If called as
26   a witness, I could and would competently testify to the matters set forth in this declaration.
27
28

     DECLARATION OF BRANDON W. HALTER IN SUPPORT OF DEFENDANT COUNTY OF MARIN’S MOTION FOR
                                      SUMMARY JUDGMENT
                                  USDC Case No. 20-cv-06222-WHA
 1           2.    Attached hereto as Exhibit 9 is a true and correct copy of selected excerpts of the
 2   transcript of the August 9, 2021 deposition of Marin County Parks Director Max Korten, who testified
 3   as a representative of County in that deposition pursuant to Federal Rule of Civil Procedure 30(b)(6).
 4           3.    Attached hereto as Exhibit 10 is a true and correct copy of selected excerpts of the
 5   transcript of the first day of the deposition of Aaron Singer, who testified as a representative of Plaintiff
 6   Seaplane Adventures, LLC in that deposition pursuant to Federal Rule of Civil Procedure 30(b)(6), on
 7   August 4, 2021.
 8           4.    Attached hereto as Exhibit 11 is a true and correct copy of selected excerpts of the
 9   transcript of the second day of the deposition of Aaron Singer, who testified as a representative of
10   Plaintiff Seaplane Adventures, LLC in that deposition pursuant to Federal Rule of Civil Procedure
11   30(b)(6), on August 11, 2021.
12
13            I declare under penalty of perjury under the laws of the State of California that the foregoing is
14   true and accurate to the best of my knowledge
15          Executed on September 1, 2021, in San Rafael, California.
16
17                                                         By:            _________________________
                                                                     Brandon W. Halter
18
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28                                                        2
     DECLARATION OF BRANDON W. HALTER IN SUPPORT OF DEFENDANT COUNTY OF MARIN’S MOTION FOR
                                      SUMMARY JUDGMENT
                                  USDC Case No. 20-cv-06222-WHA
EXHIBIT 9
          CERTIFIED TRANSCRIPT OF:


Seaplane Adventures, LLC vs. County of Marin



                MAX KORTEN - PMK

                        Volume 1

                Date: August 9, 2021




          Reported by: Amanda Kallas

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                                                                                                        Deposition of MAX KORTEN - PMK
Seaplane Adventures, LLC vs. County of Marin                                                                               Date: 8/9/2021
                                                                  Page 13                                                                 Page 15
 1   to refer to Bates Stamp Nos. COMOOO I through 000219 . And              1   that. But -- but, yes, the -- at least related to more
 2   I'm going s lowly intentionally here, 0008243 through 83 78.            2   general orders, that seems like the -- the tim e line.
 3                  (Exhibit A was                                           3      Q At ome point, did it fall within your duties as
 4              marked for identificat ion.)                                 4   director to admi ni ter some aspect of the health order       111
 5   BY MR . SHARP :                                                         5   general ?
 6      Q Do you ha ve those available to you. Mr. Korten?                   6         MR. HALTER: I'm just going        10   assen an
 7         MR . HALTER : So. John, if I may, not to                          7   objection on vagueness.
 a   interrupt, but I -- I can -- if you're getting at whether               8         Go ahead, Max.
 9   or not Mr. Korten can display them , I'm -- I'm ready to                9         THE WITNESS : Yeah, I -- it -- you know , at -- at
10   display them now. I think that might be easier than                    1o   a certain point. I took on a role related to the -- to the
11   having Mr. Korten display th em. if that' where you're                 11   health order development.
12   headed.                                                                 2   BY MR. SHARP :
13         MR. SHARP: Okay. I -- yes, I have so me general                  13      Q Okay. Do you know when that point was? I'm not
14   questions abou t th e heal th orders. and I will repre ent             14   going to hold you to a specific date, but if -- here's an
15   that that's -- well. I won't represent. I think that's                 15   example of your best estimate.
16   whe re they are in the 8,000 pages of Bates-stamped stuff.             16      A I don 't remember exactly when I started that
17         MR. HALTE R: So, everyone, I am now showing a                    17   role. But, you know. it was -- it was probabl y around
18   large PDF that we had previously produced to pl aintiff in             18   April or May of 2020.
19   thi s matter. This is marked COM I through 11 6, and so th e           19      Q And what was that role ?
20   firs t Bates range that Mr. Sharp j ust identified should be           20      A So, it was helping to manage the Marin Recover
21   within this document. And then we can go on to the -- to               21   effort.
22   the other PDF with the 8,000s later as we move through                 22         (Stenographer requested clarification.)
23   Mr. Sharp's questions. if that works for Mr. Sharp.                    23         THE WITNESS : Marin Recovers . So being a liai son
24         MR . SHARP: That work s for me. And thank you.                   24   between the business community and our public health
25   Brandon. I appreciate the cooperatio n.                                25   officer and   10   helo --
                                                                  Page 14                                                                 Page 16
 1         MR. HALTER: Sure.                                                 1         (Stenographer requested clarification .)
 2   BY MR . SHARP :                                                         2         THE WIT 'ESS: Sorry, wha t's that?
 3      Q So my question for you is :                                        3         (Stenographer requested clarification.)
 4         You see that order of the hea lth officer of the                  4         THE WITNESS: Initi a lly work with big groups of
 5   County of Marin generally requiring members of the public               5   businesses to he lp info1m and de ve lop the initial guidance
 6   and workers to wear face coverings; correct'l                           6   for reopening businesse .
 7      A Conect.                                                            7   BY MR. SHARP :
 8      Q What I'm after here is there's a date there.                       8      Q Okay. Would you describe, to the best of your
 9   April 17, 2020. To the best of your knowledge, is tha t                 9   ability, you r specific assigned task within the context of
10   around the time that the County initially adopted a health             10   business recovery and -- in Marin County in -- you know,
11   order under the -- under the Co Yid de ignation'l                      11   with the subcontex t of Co Yid ? I'm not sure which one i
12      A I'm sorry. I just want to understand. ls yo ur                    12   sub or not, but you understand my question'l
13   question whether this was the first Co Yid -related health             13      A I think so.
14   order'l                                                                14        The way -- initially, my task was to manage an
15      Q That's a better question than the one I as ked. I                 15   effort to convene groups and facilitate a process to
16   butchered the que tion , so yes.                                        6   develo p a guidance to allow different ectors of
17      A I'm -- I'm not sure wh ether that is -- this is                   17   businesses to reopen that -- that we could -- that I could
18   the first one or not.                                                  18   then presem to the public hea lth officer to decide
19      Q Okay. I'm not trying to ho ld you to the date.                    19   whether those sector could reopen .
20   I'm just trying to generally place in time when the County             20        And then later, my role changed when the State
21   started issuing health orders.                                         21   took on the lead of developing the gu idance, and a t th at
22         Fair to say, March a nd/o r Apri l of la t year,                 22   point, my role was businesses, understand the State
23   2020'1                                                                 23   guidance, and working with a public health officer and our
24      A Yeah. There -- there ma y ha ve been some                         24   public info1mation officer to provide assistance and
25   Co Yid -related health orders rega rding reporting prior to            25   infom,ation to our local busi ness community.

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                                                                                           Deposition of MAX KORTEN - PMK
Seaplane Adventures, LLC vs. County of Marin                                                                  Dare: 8/9/202 J
                                                        Page 17                                                                Pag e 19
 1      Q Thank you.                                                1 needed attention'l
  2        Public health officer is Dr. Matt Wil lis:               2        MR. HALTER : Objection. Vague as to body.
  3 correct'l                                                       3        But if yo u understand, Max, go ahead.
  4     A Co1Tect.                                                           THE WITNESS: Sure. Yeah, I thi nk so.
  5     Q Was and still i for the duration , so far anyway,         5        We initi ally identifi ed. you know, some
  6 of the CoVid pandemic; correct?                                 6 businesses -- ty pes of businesses that came to mind. But
  7     A Correct, ye .                                             7 we also developed a steering committee that included the
  8     Q And you mentioned another individual, and I don't         8 local Chambers of Commerce and business leaders, ran
  9 remem ber the title, but was -- was there somebody else in      9 economic fo rum and others that helped us both identi fy the
1 o that -- in that chain of authority regarding trying to         1o  ectors wi thin the Marin economy, and then also connected
11  institute reopening of busine es? I think you aid              11 u wi th leaders within those sectors to help infom1 a
12  information officer. I'm sorry to interrupt you, but...        12 guida nce.
13      A Yeah. I think what I was saying is tha t later           13 BY MR. SHARP:
14  on, as the State took on the lead of providi ng the            14    Q Thank you.
15  guidance for businesses, I was working with our public         15        All right. I'm refe1Ting aga in to the -- to the
16  information officer to provide information to busines e        16 health orders, and I'm referring to them generall y. I
17  about how to comply with the State' order.                     11 know there are many of them, and I don't need ro take you
18     Q Okay. And who's -- who's the public information           1s through each one right now.
19  officer?                                                       19        But do you have an awa reness of how the heal th
20      A Laine Hendricks is the information officer.              20 ord ers themselves were di sseminated in the business
21     Q Thank you.                                                21 communities in Marin County?
22         When you were originally tasked with assist ing in      22    A Yes.
23  the -- in the business reopening process, if I'm               23    Q That fell within the purview of your tasks as
24  describing that correctly, who -- who did you answer to'l      24 director?
25  Was that Dr. Willis?                                           25    A Yes.
                                                        Page 1 8                                                               Page 20
         A So I -- I worked with Dr. Willis. I repon ro             1      Q Would you describe that process for me. please.
 2   the full Board of Supervisors.                                 2       A Yeah . So the -- the orders were posted on the
 3       Q Okay. And fair enou gh ro say that from time to          3   on -- on a Marin County website.
 4   time during the board's regular Tuesday meeting in -- and      4         And add iti onall y, we created a site -- our public
 5   over the course of the past I 8 or 20 months, there would      5   information officer created a site ca lled Marin Recovers
 6   be an agenda item to do with busines reopening?                6   that had a ection called Guidance for Businesses where
 7      A I believe tha t at least one, and that was where          7   business -- you cou ld look at different ector and find
 8   we broug ht the initial framework for how we were going to     8   the guidance for businesses.
 9   get input and develop the initial guidance. And we             9         And additionall y. we utilized groups like the
10   brought -- I -- I believe we bro ught that to the Board of    10   Chambers of Commerce and partners in the citie and town
11   Supervisors a an information item.                            11   to help get information out about the public health
12      Q Okay. You talked about identifying ectors of             12   orders.
13   busines for reopening.                                        13       Q Thank you.
14          Did I understand that correctl y'l                     14         You know what I'm referring to when I u e the
15      A Yeah. I -- we -- I -- it was identifying ectors          15   tern, "essential services" within the context of Co Vid
16   and then convening -- faci litating groups to help develop    16   order or health orders?
17   guidance for those sectors.                                   17       A Ye .
18      Q Public and private groups'l                              18       Q Okay . Were you involved in decision-making as to
19      A You mean -- I'm sony , I -- I -- I'm -- I don't          19   wha1 businesses were or were not deemed essent ial services
20   totally understand the question .                             20   in the variou iterations of the health orders?
21      Q That's okay. Let me -- I'm going to strike that          21       A The way that the health order are con tructed.
22   for right now.                                                22   they don't -- they specify kinds of businesses, not the
23          So when you talk about sectors. can you -- can         23   businesses themselves. But I played a role in deve loping
24   you define for me how -- how the body that you're -- that     24   the guidance. Of course, Dr. Willis was the
25   you are referencing identified sectors of business that       25   decision-maker on the orders.

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EXHIBIT 10
          CERTIFIED TRANSCRIPT OF:


Seaplane Adventures, LLC vs. County of Marin



               SAUL AARON SINGER


                Date: August 4, 2021




          Reported by: Amanda Kallas


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Seaplane Adventures, LLC vs. County of Marin                                                                  Date: 8/4/202 I
                                                       Pag e 89                                                            Page 91
 1      Q     Okay. And that' EIDL?                                1           If I wan ted 10 track that down, woul d your bank
 2      A     EIDL , I believe.                                    2   records show evidence of when you received that S450.000?
 3      Q     Do yo u reca ll when you filled thi s one out?       3      A Yes. they would.
        A     Abo ut the same time.                                       Q And you have acccs to those bank records today?
 5       Q It's --                                                 5      A I do -- well. I -- I have electronic access to
 6       A Well , it say there it had to be done by December       6   the bank account.
 7   of 2020.                                                      7      Q Do you recall , as you it here today. what son
 8       Q Did you fi ll out thi application?                      8   of way you used the S450.000 from this applicati on?
 9       A Or okay, there it is.                                   9      A To pay debt and overhead. in urance, rent.
10           Yes, I fi lied it out.                               10   The -- once we were running again in -- in June, employee
11       Q And there's a date on the top here, a I've             11   and ...
12   highlighted, i the -- is showing a date received of          12      Q Is it fa ir to say that in general you used the
13   March 23rd. 2020 .                                           13   funding from this EIDL as well a the PPP loan to fund the
14           Does that sound about ri ght in tem,s of when yo u   14   same sorts of business operati ons and ex pense related to
15   remember ubmi tting thi s?                                   15   the business th at you wou ld have otherwise used your
16       A Th at sou nds about ri ght.                            16   revenues fo r?
17       Q Box o. 12 down here that I'm showing you, asks         17      A Precisely.
18   for the number of employees. You indicated ten: is that      10      Q Now. at ome point in advance of June 5th --
19   ri ght?                                                      19   well. scratch that.
20       A That' ri ght.                                          20           How far in advance of June 5th did you make the
21       Q Box 188 was checked (readin g):                        21   decision to resume operations?
22                     Does the business or a listed              22      A Restate the que tion. I'm sony.
23             owner have any outstanding judgments,              23      Q You resumed -- Seaplane resumed operations of one
24             tax li ens, or pendi ng lawsuits against           24   form or other on Ju ne 5th, 2020: is that ri ght'l
25             them?                                              25      A That' correct.
                                                       Page 90                                                             Page 92
           You indicated ye .                                              Q     ow we' ll get to wha t kind of operation yo u
 2         Do you recall why that is?                              2   resumed in a second , but what I want to find ou t i :
 3      A We we re named in a injury lawsuit on the grounds        3         When did you make the dec ision to resume some
 4 here at the -- the Marina. That was dropped. They               4   kind of operati on on June 5th ?
 5 j ust -- they named u because they were suing the -- the        5       A Afte rtheopeningofanumberofdifferen t
 6 insurance company was suing Commodore Marina. and they          6   categories of the economy.
 7 named Seaplane Adventu res. but we were dropped.                7       Q Do yo u reca ll how fa r in advance from June 5th
 8         (S tenographer requested clari fication.)               8   yo u made the dec ision to reopen that day?
 9         TH E WJTNE S: Commodore Marina.                         9       A It was -- it was maybe the -- the week before.
10 BY MR. HALTER:                                                 10   It was -- it was pretty qui ck.
11     Q Commodore. like the naval title, I think.                11       Q So --
12     A Yes. C-O-M-M-O-D-0-R-E.                                  12       A We've been -- we had been -- a I mentioned, we
13     Q And you aid you submitted th is applica tion: is         13   had been planning and ready to reopen.
 4 that right 9                                                   14       Q And so in yo ur recollection, there was maybe a
1s     A That' correct.                                           15   week in between you find ing out that yo u wo uld be
16     Q And did you recei ve any fund s as a result?             16   reopening and then actual ly reopening; is that right?
17     A We did.                                                  17       A That's correct.
18     Q How much did you rece ive 9                              10       Q Could it have been less time than that, or was it
19     A 450.000.                                                 19   in your memory abou t a week?
20     Q Do you recall when yo u received that 9                  20      A I -- I can't be precise.
21     A I don't.                                                 21      Q     ow, when yo u reopened -- well. scratch that.
22     Q Was it in 2020 9                                         22         In that peri od between deci ding to reopen and
23     A I don't recall the exact date that it hit. It            23   reopening on Jun e 5th, what did yo u do to prepare for
24 was an -- again. a long process.                               24   reopening?
25     Q And I gues same question :                               25      A Well.. we got all of our s stems back in order

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                                                                         Page 109                                                                    Page 111
 1   up. You know. as we aid, we -- you know, when we opened                          1   su mm er.
 2   on June 6th , we didn't ha ve any reservations, so we had                        2        Q From June 5th to July 3rd, a nd obvio usly
 3   already -- you know, it took some time to get ram ped up                         3   that's -- that' a d ate we're goi ng to ta lk about in some
 4   aga in .                                                                         4   depth as well. But from June 5th to Jul y 3rd , did
 5          So by the end of June, our demand was -- was                              5   Seaplane limit its operati ons in any way du e to -- du e to
 6   quite good, and -- and we had done almost half of that --                        6   any order from the Co unty?
 7   you know. what would be norm al for the bu iness.                                7        A I'm sorry. say that one more time.
 8       Q And as you can imagine. what I'm trying to                                 8        Q From June 5th , 2020, to Jul y 3rd, 2020, did
 9   identi fy is, was any of that percentage drop attributable                       9   Seaplane limit its operations in any way due to any order,
10   to oth er variable . beyond the variab le that you had to                       10   any health order from the County'l
11   reopen without hav in g had any previ ou bookings on June                       11        A No.
12   5th? For exa mple, the wider wo rld was still dealing with                      12            MR. HALTE R: I'm going to show you -- I think
13   the pandemic.                                                                   13   it's actually still up on your screen. What is -- what
14             Do you have any more detailed infom1a tion abou t                     14   I' ve pre viously marked as Ex hib it        o. 9.
15   the rate at wh ich you received reserva ti ons in thi s                         15                     (Ex hibit 9 wa
16   peri od?                                                                        16                 marked for identification .)
17       A No ne other than what I furni shed.                                       17   BY MR . HALTE R :
18      Q A nd you never heard anything from -- or did you                           18        Q Do you see that on yo ur scree n?
19   ever hear anythin g from customers or potential customers                       19        A I do.
20   that th ey wou ld ha ve -- th at anyone would have taken more                   20        Q Do you recognize thi s document'l
21   or would have tak en flights absent the Co Yid-I 9                              21        A I do .
22   circumstances th at they cho e not to take beca use of Co Yid                   22        Q What i this document'l
23   in June 2020?                                                                   23        A That was a n em a il from Sergeant Schneider fro m
24      A I'm sorry. I did not understand that questi on.                            24   the county she riff.
25      Q What I'm trying to understand is whether you eve r                         25        Q And I'll -- I'll just briefly scroll down the
                                                                         Page 11 o                                                                   Pag e 112
 1   heard from any custo mers or pot ential customers that they                      1   who le thing, so you can see th is is a chain. It sta rt
 2   would have booked flights with yo u in June 2020 but didn't                      2   with an email from Sergeant Schneider to you . Thi is on
 3   because of Co Yid?                                                               3   Jun e 11th.
 4      A No. we did not hear that. The economy and large                             4            Do yo u see th at'l
 5   parts of th e economy were reopeni ng at that time.                              5        A Yup.
 6      Q Do you have any con tacts with other busin esses in                         6        Q Do you reca ll that em a il ?
 7   the. you know. charter fli gh t community or flight tour                         7        A Yes.
 8   community?                                                                       8        Q And then you respo nd to Sergeant Schneider on
 9      A Can you be mo re specific with your question 'l I                           9   June 12th.
1o   mean. of course I know peop le.                                                 1o            You recall s nding thi s emaiJ 'l
11      Q        ure . Wha t I'm -- wha t I'm trying   10   get at is.               11        A I do .
12   did you communicate with other peop le who were, you kn ow.                     12        Q And then Sergeant chneider responds on
13   also prov idin g si milar se rv ices. you kn ow. so mewhere                     13   Jun e 15th.
14   else --                                                                         14            D o you remem ber receiving rhis email?
15      A       No.                                                                  15        A    I do.
16      Q -- during thi s period 'l                                                  16      Q U nder th e -- the -- the -- the bolded text, our
17          Okay. Because as you menti oned , parts of th e                          17   posit ion , from Sergeant Schneider, there's two bullets
18   economy were opening up , but parts of th e econo my. even                      10   there. What w as your ge neral understanding of what
19   though they were opening up. were still strugg ling with                        19   Sergea nt Schne id er meant by these two bull ets'l
20   demand because of Co Yid. And it sound s like from your                         20          MR. S HAR P: We ll. I'll object to the extent it
21   perspective. you saw no indication what soever that your                        21   ca ll s for specula ti on on Mr. Singer's part.
22   business -- th e demand fo r your services in June 2020 was                     22            But he can answer, if he has an understandin g .
23   impacted by the wider Co Yid-1 9 pandemic'l                                     23            THE WITNE SS : I'm not sure you want to ask a
24      A No . And in fac t, we fo und peopl e to be very                            24   seapl ane pilot for a legal opin ion.
25   enthusiastic about the openin g of the eco nomy during th e                     25   //


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                                                         Page 113                                                            Page 115
    BY MR. HALTER:                                                   1  alleging.
  2     Q Yeah. I don't -- if you want to offer one,                  2     Q So this is on June 15th. On Jul y 3rd, you
  3 that's up to you. I really -- I really just want to know          3 received a visi t from the sheriff's office, and we'll get
  4 what -- how did -- wha t did you understand him to mean           4 to that in a econd. But did you limit your operations in
  5 when he was writing these two words? And I'm not trying           5 any way in respon e to thi email that's Exhibit 9 from
  6 to trick you into a legal conclusion of some -- of some           6 Bren -- from Sergeant Schneider?
  7 kind. I'm just talking to you a the guy who received              7     A 10 , I did not.
  8 this email.                                                       8     Q For that visit on July 3rd, the -- you were
  9     A Well , I'm regulated by the Federal Aviation                9 vi ited by a sheriff deputy: right?
1 o Administration. not by the County of Marin . Certainly not      10      A That's correct.
11 by the sheriffs office.                                          11      Q And he threatened to fine you for certain kinds
12      Q Okay. But I'm wondering -- and that' fine. But            12  of fli ghts: is that ri ght?
13  I think you actually wro te that down in -- somewhere in        13      A That's correct. o, not certain kinds of
14  this emai l chain.                                              14  flights . He threatened to fine me if I flew . And he
15      A Oh, we did.                                               15 threatened to fine me SI 0,000 for every flight that I took
16      Q But what I'm asking you is what -- what did you           16  from that moment on.
17  understand Mr. Schneider to be saying to you in these           17      Q That SI 0,000 figure kind of confused me because
18  first two bull ets?                                             18  when I -- when I saw the video, and my understanding was
19      A He was complaining that neighbors were                    19 separate and apart from that, that the -- the fine was
20 complaining, and he was telling me that I had to cea e           2 o SI .000. But your -- your recommended -- your recollection
21  operations.                                                     21  1 that it was SI 0.000?

22      Q Okay. And that' what --                                   22      A That is my recollection.
23      A And he was telling -- and he was telling me what          23      Q Have yo u reviewed that -- that video, either the
24  kind of a business I was. And, again , I'm regulated by         24  videos produced by Seaplane or the video we produced in
25 the Federal Aviation Administration as a Part I 35 ai r          25  connection with that interaction?
                                                         Page 114                                                           Page 116
 1  carrier. It's simple as that. I've been through thi                      A I have not seen that actually in a Jong time.
  2 with the County now for yea rs.                                  2       Q Okay. What did you do in te1ms of your
  3    Q And so what -- the pan abou t restricting your              3   operations once you received that visit from the sheriff
  4 operations is reall y what I want to get into becau e                on Jul y 3rd?
  5 you -- it writes (reading):                                      5       A Well , under threat of extreme economic penalty,
                      ccn ic tours and/o r lei ure                   6   and further threat that if I continued , I would be
  7           travel services are not expressly called               7   arrested, I shut down .
  8          out as an allowed additional busines .                  8       Q Did you have any interactions with the sheriff's
  9        But (readin g continued):                                 9   office in person other than that interaction on July 3rd
10                   However. to the extent your                    10   that was the subject of those videos?
11           bu ine provides flights for limited                    11       A Not in per on .
12           authori zed travel purpo es. i.e.. not                 12       Q What other interactions did you ha ve with the
13           sightseeing or leisure travel to                       13    heriffs office related to the ounty health orders
14            Lake Tahoe. yo u can provide passengers               14   beyond that July 3rd in-person interaction?
15           with flights that all ow fore sential                  15       A I got another call from the sheriff office the
16           tra vel.                                               16   following day. saying that they had under rood that I wa
17         And I'm -- I'm quoting certain parts of that.            17   going to be flyin g family members posi ng -- or -- or that
18  but --                                                          18   I was going to be flyin g customers posing as family
19     A And I'm not sure what leisure tra vel services             19   member . And that they threatened to come here and
2 o mean . The Federal Aviation Administrati on does not define     20   interview customers a they were coming off the airplane.
21  any pan ofmy business as leisure travel services. I'm a         21      Q Do you recall who it was that called you?
22  Pan 135 ai r carrier.                                           22      A I don't.
23     Q So did you under tand thi email to mean that you           23      Q Do you recall any other infonnation about that
24  cou ldn't provide any flights at all'l                          24   person, such as title or department or ...
25     A I understood th at email as that is what he was            25      A It's a sheriff.

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                                                        Page 165                                                             Page 167
 1   BY MR. HALTE R:                                                         Q What son of communicati on , if any, did yo u get
 2        Q -- Mr. Singer, I just want to know like a date           2   from customers in thi s time frame after -- meaning
 3   and time.                                                       3   Jul y 4th to th e end of August 2020?
 4        A I don't know.                                            4       A Lots of phone ca ll wondering ifwe were open,
 5          MR. SHARP: And we're not waiving any privilege.          5   what wa happening.
 6   If he recalls, fine , but.. .                                   6       Q How did yo u respond to those phone ca ll s,
 7   BY MR. HALTER:                                                  7   generally?
 8        Q Oh. yeah. definitely don't -- don't tell me              8       A At some point, yo u kno w, we -- we tri ed
 9   anything that yo u had -- any conversations you had with        9   responding to people, and at some point we just put
10   Mr. -- with yo ur counsel. I'm just trying to get a sense      10   something up on the websi te.
11   of when you saw thi document for the first time.               11       Q On August 3 1st, av iati on serv ices were added to
12        A Acn1al ly, now -- now that I'm readin g this a          12   that Appendix C-1 to the Count y health orders. And that
13   little more closely, I thought this was a -- a letter that     13   order allowed -- in yo ur interpretation, allowed you to
14   John had sent. So I don't actua lly recognize thi s            14   resume operati ons; is that ri ght?
15   document. That's not sayi ng I haven't een it. but I           15       A That is correct.
16   don't recognize it.                                            16       Q Fu ll operat ions, I shou ld say.
17        Q Okay. All right. Well, I think my -- my                 17           How fa r in advance, if any. of that August 31st
18   exercises will th wart it.                                     18   update did you learn that the restri cti ons on aviation
19          All ri ght. Let's move on from that then.               19   services wou ld be lifted?
20          So what -- in general , what did Seaplane and its       20       A I don't reca ll. I don't believe I had any
21   employees and owner do for July and August with respect        21   fo rekno wledge of that.
22   to operating the business?                                     22       Q So as yo u sit here toda y. as you reca ll it, that
23        A Well , it was me. And there wa n't much to do           23   yo u didn't learn that -- and -- or yo u didn't learn the
24   except to figure out how to survive.                           24   restri cti ons wou ld be lifted any time before August 31st?
25       Q And what did yo u do to figure out how to survi ve?      25       A Correct.
                                                        Page 166                                                             Page 168
 1        A Well. I started trying to get the -- a --                1        Q And we'll go through , thi s i go ing to start --
 2   addi tional thing -- trying to fig ure out how to keep the      2   th is is go ing to start rea lly vag ue, and then we'll drill
 3   airplanes from -- from rusting apart in place. Pull ed one      3   down into the detail s.
 4   of the ai rcraft, eventually out of the water. You know, I      4           But what did Seaplane do when it heard the news
 5   don't know . There's -- you know I did everything I             5   of the update to Appendix C-1 ?
 6   cou ld. Tri ed to get -- see if there were any other            6        A We started scrambling to get oursel ves together
 7   additi onal financing opportunities.                            7   so we could reopen . It was --
 8        Q In terms of the -- exploring other financing             8        Q So --
 9   opportunities, what did you do there?                           9           (Stenographer req uested clarificati on.)
10        A I think I had a conver ati on wi th my bank officer     10           THE WITNESS: -- it was Ana and I.
11   in whi ch there was j ust no potential opportunity to get      11   BY MR. HALTER:
12   furt her financing .                                           12       Q And Ana was the person who was doing certain
13        Q Did you evaluate any other further governmen t          13   reception/administrati ve-type duties for yo u?
14   assistance at that point ?                                     14       A General management.
15        A We were eva luati ng everythin g that was in            15       Q General management.
16   circulati on at that time .                                    16           So let's -- let' go category -- category by
17        Q And in term s of making efforts to maintain the         17   category then. Starting wi th the in urance. how long did
18   ai rcra ft, did yo u have any ass istance wi th that, or was   18   it take to get the insurance back in pl ace to insure yo ur
19   that j ust yo u?                                               19   night activities?
20        A It was basically me.                                    20       A I don't recall exactl y how long that took.
21        Q Did yo u initiate any communications with the           21       Q How long did it take to get the aircraft back
22   County or to try to otherwise get any infon11ation about       22   into airworthy cond iti on?
23   when the restri ction on operati ons would be Ii fled ?        23       A It took some wo rk to get the one ai rcraft into
24        A I don't reca ll.                                        24   airworth y condition. Our other Beaver has never been
25           I was certainl y offered none.                         25   returned to ainvo rth y conditi on. It is still out.

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EXHIBIT 11
          CERTIFIED TRANSCRIPT OF:


Seaplane Adventures, LLC vs. County of Marin



               SAUL AARON SINGER

                        Volume 2

               Date: August 11, 2021




          Reported by: Amanda Kallas

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                                                                                   Deposition o.fSA UL AARON SINGER, VOL. 2
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                                                           Page 24 O                                                              Page 242
 1      Wedne day, August 11 , 2021 ; Torrance. California              1          MR . SHARP : Yes.
 2                  10:04 A.M.                                          2   BY vlR. HALTER:
 3                  ---oOo---                                           3       Q And this is Exhibit IO to this deposition .
 4        THE STENOGRAPHER: Good afternoon. My name is                  4          Mr. Singer, when we left off we were talking
 5   Amanda Kallas. and I am a California Ce11ified Sho11hand           5   about these businesses here. And I believe we had talk ed
 6   Repo11er, License No. 1390 I.                                      6   a fair amount about AeroclubMarin. but just to confi rm.
 7        The pa11ies pa11icipating in thi s deposition                 7   With respect to each of these businesses, what I want to
 8   acknowledge that I will be remotely stenographica ll y             8   understand is -- is what you know about their operations
 9   repo11ing this proceeding pursuant to Federal Ru les of            9   between March and September of last year. 2020.
10   Civil Procedure, Section No. 30.                                  10         We talked about AeroclubM arin and to paraphrase
11           Coun el, if there is any objection to me, a               11   what I remember of you r testimony, I believe you said that
12   Ca li fornia licensed deposition officer. administering a         12   you believed that th ey had conducted ce11ain operations.
13   binding oath to a witness not appearing personally before         13   but that th e only reason that you believe th em to be
14   me, please state your objection now.                              14   co nductin g any opera ti ons wa by reviewing their
15           Hearing no objection. Mr. Singer. please raise            15   adve11ising.
16   you r right hand to be sworn in.                                  16         Is that correct?
17                  --- 000 ---                                        17      A That is co rrect for AeroclubMarin.
18               SAUL AARON SINGER,                                    18      Q Thank you .
19      the witness, having been adminis tered an oath in              19         And with respect to AeroclubMarin . I asked about
20    accordance with CCP Section 2094 , testified as follows :        20   any reason you might have to believe th at the County knew
21         THE WITNESS: I do.                                          21   anything about Aeroc lubM arin's operations from that March
22         THE STENOGRAPHER: Thank you.                                22   through September time frame. And I believe you r response
23         Go ahead, Counsel.                                          23   to that was something to the effect of. you know. Marin
24         MR. HALTER: Thank you.                                      24   County owns the airpo11 and run the airport. and you
25   //                                                                25   didn't have any basis to believe that the Coun ty kn ew
                                                           Page 241                                                               Page 243
 1                   EXAMINATION                                        1  anyth ing abou t AeroclubMarin's operati ons other than by
  2 BY MR. HALTER:                                                       2 the fact that they owned and opera ted the airport.
  3    Q Again good afternoon. Mr. Singer, nice to see yo u              3         I that a fair summary of what you said?
  4 aga in. As yo u just heard from the cou11 reporter, the              4     A I'm orry. I -- I completely do not understand
  5 oath that you just took is the same -- well, the same oa th          5 the question .
  6 you took during the first day of our deposition. I would             6     Q Thank you for lening me know. Mr. Singer.
  7 also note that all of th e rul es and guidance I was                 7 because that -- that question probably took a page and
  8 offerin g last time apply here today.                                8 I -- I should j ust break it down into sma ll er bites.
  9        Do you need me to repeat any of that? Or do you               9         Do you believe that the County knew anything
1 o understand that all applies here today the same as it did          1 o about AeroclubMarin's operati ons, if any. during that

11  the last time we talked?                                           11  March through September time frame ?
12     A I understand . I do not need repetition.                      12      A I wou ld have no way of knowing that.
13     Q Thank you. Mr. Singer.                                        13      Q Thank you.
14         So where we left off. I believe we were speaking            14          Let's go to Scanlon Aviation . And I think what I
15 about Paragraph 86 of Exhibit I 0. So what I'll do is pull          15   wi ll do today is just ask what operations do you know
16 that back up .                                                      16   Scanlon Avia ti on provided between March and September of
17           (Exhi bit IO was previously marked                        17   last year?
18                for identification .)                                18       A Part 135 operations and -- and charter and -- and
19  BY MR . HALTER:                                                    19   flight instruction .
20     Q And we'll go from there as if it were just                    20       Q Okay. o when you said Part 135 charte r
21  another ex tension of that day . Give me one second here.          21   operations, is that what we've been referring to in this
22         MR. HALTER: All ri ght. Do you all see on your              22   deposition as charter flight s?
23 screen Page I 6 of the document that wa filed. th at                23       A That is correct.
24  Document 21 , in this matter?                                      24       Q And you said that they were also providing flight
25        THE WITNESS: Yes.                                            25   instruction: is that right ?

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                                                         Page 244                                                          Page 246
         A That is correct.                                           1       A Well , we had a -- we had to di sassemble the
 2       Q With respect to their charter flights . what do            2   Super Cub. and so had to figure out a way to get parts of
 3   you know about what charter flights they were providing          3   the aircraft there. And the other aircraft have to be
 4   between March and September of 2020?                             4   tended to, and I wou ld sometimes work out of my hangar.
 5       A I know and ob erved that they were conducting              5       Q When you said "disassemble the Super Cub," when
 6   flights durin g that time. Their aircraft are well marked.       6   was that?
 7       Q I see.                                                     7       A I -- I'm not sure exactl y when that happened.
 8          And this is -- I'm sorry, I hould back up.                8       Q Can you give me your best estimate of when that
 9          You mention -- or you testified earlier that you          9   happened?
10    pend some time at Gnoss Field -- you spent some time at        10       A Yeah I -- I honestly cou ldn't. I woul d have to
11   Gnos Field between March and September of last year: is         11   go back and find out when we did that.
12   that right'l                                                    12       Q What was the reason you had to disassemble the
13       A That is correct.                                          13   Super Cub'l
14       Q And what wa the nature of your -- your presence           14       A Because it was rusting in place.
15   there?                                                          15       Q Was this -- in order to place it in time, was
16       A I have a hangar at Gnoss Field and I go there             16   this need to disassemble the Super Cub, do you remember it
17   often.                                                          17   being after August of 2020?
18       Q What hangar is it?                                        1s       A I do not remember.
19       A Charlie 802.                                              19       Q So it's possible that it was -- it had 11.1 ted in
20       Q And what do you -- what's the nature of your              20   place in March 2020: is that right'l
21   interest in that hangar? Do you lease it?                       21       A I don't know.
22       A I own it.                                                 22       Q Okay. So is it possible that you had no use of
23       Q Do you lease it to anyone else?                           23   the -- the Super Cub from March 2020 forward?
24       A I do not.                                                 24       A I don 't know.
25       Q What do you keep in that hangar'l                         25       Q How would you go about finding out with more
                                                        Pag e 24 5                                                         Pa9e 247
 1      A Aircraft.                                                   1 detail or more specificity when it was that the Super Cub
 2     Q What kind of aircraft'l                                      2 needed to be disassembled?
 3        (S tenographer requested clarification.)                    3     A I can go into the maintenance logs and get that
 4        THE WITNESS: Various parts and stuff.                       4 information.
 5   BY MR. HALTER :                                                  5     Q And where are the maintenance logs?
 6     Q What aircraft do you keep in that hangar'l                   6     A They're at Seaplane Adventures.
 7     A A 1931 Great Lakes and parts of the Super Cub.               7     Q Is it your recollection, as you sit here today,
 8     Q Between March and September of 2020 , how often              a that you had the use of the -- the Super Cub in June 2020'l
 9   were you visiting that -- Gnoss Field , in general 'l            9     A I don't remem ber. I haven't focu ed on that
10     A Fairly often.                                               10 airc raft in a long time.
11     Q My audio cut out. I'm sorry, Mr. Singer. what               11     Q What I'm trying to get at. Mr. Singer, is part of
12   was your respon e'l                                             12 the tricky part of this case is trying to figure out that,
13     A Fairly often.                                               13 even if -- you know, if you're successful in your claims
14     Q And can you be more specific as to what that                14 again t the County. how to figure out what the measure of
15   means'l                                                         15 damages would be.
16     A I don't know how to be more specific than that.             16        And what I'm trying to understand, as we sit here
17     Q I __                                                        17 today, is whether or not you are claiming that you lost
18      A I don't have the -- I didn't keep a list of                18 the use of the sipe -- the Piper superclub -- Cub as a
19   date .                                                          19 result of the restrictions on your operations between July
20      Q When you say "fairly often." do you mean several           20 and August of 2020?
21   times a day'l Or several times a week'l Or several times a      21     A I actua ll y have not focused on that aircraft as
22   month'l                                                         22 part of our damages, because we can conduct instruction in
23      A Often multiple times a week. during that period.           23 the 123 Juliette Lima .
24      Q And what would you be -- what would be the                 24     Q What is the 123 Juliette Lima'l
25   ouroose ofvour visi t several times a week in that oeriod'l     25     A That's the Beaver. the other --

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                                                      Page 248                                                             Page 250
 1     Q That' --                                                  1    flights Scanlon Aviation took in that period?
 2     A -- Beaver.                                                2        A I do not have an y know ledge of that.
 3     Q That's the --                                             3        Q Do yo u have any knowl edge abou t the frequency
 4     A We have rwo Beavers.                                      4   wi th which charter -- Scan lon Avia ti on conducted any
 5     Q That's the second Beaver with the econd yoke: is          5   charter fligh t ?
 6 that right?                                                     6        A I do not have any precise know ledge of that other
 7     A Correct.                                                  7   than what I observed.
 s     Q And my understand ing was that econd Beaver has           8        Q And what did yo u ob erve?
 9 been out of commission since August 2020; is that right'l       9        A That Scan lon Aviation was fl ying fa irly often out
1o     A Th at is correct.                                        10   of Gnoss .
11     Q As far as that time period between March and             11        Q And when yo u say "fairly often," what do yo u
12 September, what do you remember about you r acti vities at     12   mean?
13 Gnoss Field other than disassembling the Super Cub'l           13        A On a week ly basis .
14     A As I said, I work there. I use that as an office         14        Q So once a week?
15 often, during that time.                                       15        A Ma ny times per week , sometimes.
16     Q In terms of how you wou ld spend your time when          16        Q Okay. And how ma ny is "many tim es per week" ?
17 you visited Gnoss Field, were yo u more -- were you            17        A I co uldn't be precise.
10 spending more time inside your hangar, or were you             18        Q Wel l, is it 1,000 or is it I 00?
19 spending time in other parts of the ai rp ort'l                19        A Certain ly not 1,000 .
20     A Wel l, yo u have to trave l through other parts of       20        Q Okay. I it I 00?
21 the airport and the bathrooms are at the other ide of the      21        A I -- I -- as I sa id , I couldn't be precise.
22 airport, so occasionally, I would have to go and -- and go     22        Q Okay. But I'm not ask ing fo r preci sion. I'm
23 to the other side . But most of the time was in my hanga r.    23   just ask ing, is it 5 or is it 100'l
24     Q And does your hanga r -- when yo u're -- when you        24        A I -- I couldn't -- I -- I'm not even goi ng to
25 were in yo ur hangar, would the -- the hangar door usually     25   venture a guess.
                                                      Pag e 249                                                            Page 251
 1  be open when you were working in there?                        1        Q Okay. So as yo u it here 10day, it could have
  2      A Ye.                                                     2   been five 'l
  3      Q And what is the view outside the hangar door when       3        A It could have been 50.
  4 it's open?                                                     4        Q But it cou ld have been fi ve'l
  5      A To other hanga r and the runway.                        5        A It was more like 50.
  6      Q So you have a full view of the runway when you          6        Q Okay. So as you sit here 10day. it was clo er to
  7 are wo rkin g in your hangar at Gnoss Field?                   7   50 flights per week that Scanlon was taking and that you
  8      A Partial view of the runway.                             B     aw durin g the period March through September 2020?
  9      Q Let's go back to Exhibi t I 0. talking about            9        A As I sa id. I can not be precise about that number.
1 o Scanlon Aviat ion. You said they were providing charter       10        Q I'm not aski ng yo u to be precise. I'm askin g you
11  flights and fl ight instruction between March and             11   to give me more detail about what you saw and what you
12 September 2020: is that ri gh t'l                              12   remember.
13      A That is correct.                                        13          So do yo u have a memory of Scanlon Avia tion
14      Q Now. tak ing the charter flights first. do you          14   taking approximately 50 fli ghts per week durin g thi s March
15 have any knowledge -- what knowledge, if any. do you have      15   through September 2020 time frame?
16  regarding where those charter fli ght were destined to        16        A I observed several flights that Scanlon was
17 fl y?                                                          17   maki ng on a week ly basis.
18      A I do not have knowledge of that.                        10        Q Okay. And what -- when you say --
19      Q Do you have any knowledge about who wa in those         19        A And it' -- and it's less than -- it's less than
20 charter fligh ts?                                              20    I 00. How about that'l
21      A I do not have any knowledge of that.                    21        Q That' -- that's something better than -- it is
22      Q Do you have any kn owledge about how many people        22   better than nothing.
23  were in those charter flights?                                23          But is it less -- you mentioned earlier the --
24      A I do not have any knowledge of that.                    24   the figu re of 50 and then you al o mention -- mentioned
25      Q Do you ha ve any knowledge about how many charter       25   several.

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 1       A I don't know. You're trying to force me to give            1   other .
 2   you a number, and -- and I just don't have that number.          2       Q Okay. And I'm talking right now about Scanlon.
 3   And I've told you multiple times that I can't be precise         3   And as l understand you today, what you're saying is you
 4   about it, and I'm -- I'm -- I can't say anything more than       4   observed several flight from Scanlon per week, but you
 5   that, Counselor.                                                 5   can't give me any more spec -- specificity than that; is
 6       Q Okay. And I'm nor asking you to be precise,                6   that fair to say?
 7   Mr. Singer, but this is --                                       7       A That i what I've said multiple times.
 8       A You're -- you're trying to force me to give you a          8       Q Could you tell whether the flights that you
 9   number.                                                          9   ob erved were charter flights or flights for flight
10          MR. SHARP: Aaron , he's entitled to your best            10   instruction'l
11   estimate.                                                       11       A No, I cannot.
12          MR. HALTER : I am entitled to your be t e rimare.        12       Q Do you otherwise have any understanding as to
13   And I am entitled to answers that are responsive to my          13   whether any of those flights were charter flights or
14   questions .                                                     14   flight instruction'l
15         THE WITNESS: I'm being responsive.                        15       A No, I cannot.
16          MR. HALTER: And that's why this deposition, if           16       Q So you don't know anything about those flights
17   necessary, will have to continue and it will have to go         17   other than observing that they had the markings of a
18   for multiple days if! can't answer -- get answers to the        18   Scanlon Aviation aircraft'l
19   questions that I'm actually answering as opposed to             19       A That's correct.
20   questions that I'm not answer -- asking.                        20       Q Let's go to CB Skyshare. Wh at can you tell me
21         MR. SHARP: Well , wait a minute here. Let's draw          21   about their operations from -- between March and
22   a line between answers that you have in yo ur head that you     22   September 2020'1
23   want, Brandon , and answers that he is required to give,        23       A They are a Part 135 ca1Tier. And I -- in the
24   which he has. I'm allowing some leeway here, but he's           24   same way, several flights on a weekly basis.
25   trying to give yo u his best estimate.                          25       Q So if l understand what you're saying, what
                                                         Pag e 253                                                          Page 255
           MR. HALTER: Exactly. And that is exactly what l            1   you're saying is CB Skyshare provided charter flight
 2   want. And I will be very clear, I don't have a specific          2   during the September to September -- sorry -- the March to
 3   answer that I want. I don't really care if it's 1.000. l         3   September 2020 time frame?
     don't care if it's one. What I care about is not gening          4       A That is correct.
 5   surprised later by testimony that's incon istent with what       5       Q And you observed several CB Skyshare fli ghts per
 6   I'm hearing today.                                               6   week in that time frame'l
 7         So when I hear "I can't be specific." l don't              7       A Co1Tect.
 8   want to hear later, "oh. well , actua lly l remember it was      8       Q Do you know if CB Skyshare provides any other
 9   more like 25 , I went and looked it up ."                        9   service than chaner flights'l
10         So that's what I'm uying to do is try to make             10       A Fuel.
11   sure that I understand what you remember.                       11       Q I'm son-y?
12         I'm not trying to trick you into some answer              12       A Fuel.
13   versus another. I'm just ny ing to understand what is the       13      Q Like they sell fuel ?
14   be t possible estimate that I can get. And in terms of          14      A They sell fuel at Gnoss.
15   you saying at one point 50. and at one point everal. I'm        15      Q Do they do any flight instruction'l
16   t1ying to understand, how can I clarify what those two          16      A They do not, to -- to my knowledge.
17   answers really mean .                                           17      Q Do they do an y scen ic fli ghts'l
18   BY MR. HALTER:                                                  10      A I don't know th at.
19      Q So when you say you saw severa l flights a week            19      Q And l forgot to ask that about Scanl on. Does
20   per -- son-y -- several flights a week from Scanlon. can        20   Scanlon do an y scenic flights , to your knowledge?
21   you give me any more detail than several?                       21      A I don't know that. He might.
22      A I can't. As I said. I can't be preci e. It's               22      Q So same set of questions with respect to
23   probably less than 50. but I have no idea. I didn't sit         23   CB Skyshare. Do you have any knowledge with respect to
24   there with a clipboard and tick off flight . l observed         24   what destination CB Skyshare may have been flying to in
25   several flights from Scanlon, CB Airshare, Surf Air, and        25   that March or -- through September 2020 time frame 'l

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 1       A I do not.                                                 1   your best estimate of how many flights you observed
 2       Q Do you have any knowledge about how many                  2   CB Skyshare take in the average week from March 2020 to
 3   passenger CB Skyshare may have been carrying in tho e           3   September 2020?
 4   flights?                                                        4       A Could be I 0. could be 20.
 5       A I do not, except fo r they operate large aircraft.        5       Q In terms of Surf Air, what do you know about
 6       Q So your assu mpti on would be that they wouldn't be       6   Surf Air?
 7   flying unless they had multiple people inside: is that          7       A Part 135 chaner.
 8   correct?                                                        8       Q So that means that they provide charter flights
 9       A That's a safe assumpti on .                               9   in your view?
10       Q Do you have any idea or an y know ledge a to what        10       A They do.
11   purpo e they wou ld be fl yi ng -- or those -- those           11       Q Do they provide -- provide flight in structi on ?
12   pas engers would be flying for?                                12       A I don't know that. I don't believe they do.
13       A I do not.                                                13       Q Do th ey provide scenic flights?
14       Q And I'll try to be a linle less repetitive abou t        14       A I don't know that, but I don't bel ieve they do.
15   this. because I understand your perspective, but I'm just      15   I think they're pure Part 135.
16   trying to get more clarity. When you say you saw               16       Q So same set of questions with respect to
17   CB Skyshare flights several time per week in this March        17   Surf Air. About -- or what's your best estimate of how
18   through 2020 -- September 2020 time frame. can you be an y     18   many flights on a per-week ba is you saw Surf Air taking
19   more specific about the number that you -- number of           19   between March 2020 and September 2020?
20   flights that you saw?                                          20       A Same volume as CB Airsha re --
21       A I cannot be specific. Precise. I cannot be               21       Q And --
22   precise.                                                       22       A CB Skyshare.
23          MR. SHARP: Again. if you have an estimate, he's         23       Q I'm sorry, I interrupted you again , Mr. Singer.
24   entitled to your best estimate.                                24       A And I'm sorry, I was correctin g myself. I said
25          THE WITNESS: Less than 50.                              25   CB Airshare, but it's CB Skvshare.
                                                        Page 25 7                                                          Page 2 5 9
 1   BY MR. HALTER:                                                        Q And you said your best estimate was IO to 20 per
 2       Q So here's th e challenge fo r me, Mr. Singer. To          2   week?
 3   me there's a -- there' a decent difference between the          3      A About the same vol ume. yes.
 4   word "several" and "50 ." So which one i it? I it you           4      Q And I forgo t to ask that about Scanlon, although
 5   saw several flights from CB Skyshare? Or you saw up to 50       5   you may have acnially sai d it and I forgot. So I
 6   flight s from CB Skyshare?                                      6   apologi ze if it was me being forge tful.
 7       A I saw multiple flights from CB Skyshare per week          7          But would you apply the same estimate with
 8   when I was th ere. which mean there were probably more          8   respect to the number of flights per week from Scanlon on
 9   than that. I on ly aw what I saw when I was there.              9   their charter flights between March and September?
10       Q Right. And I'm just asking for what you                  10       A On their flights, yes.
11   observed.                                                      11       Q You hesitated a little bit before you answered
12          Did you -- when you say "multiple." now that's a        12   there, was there a reason?
13   new word. What did you mean by "multiple"'.'                   13       A They do both Pan 135 charter and flight
14       A Multiple times per week. Multiple flights --             14   instruction .
15       Q Okay.                                                    15       Q Okay. But I don' t -- I -- as I remember your
16       A -- per week .                                            16   testimony, you didn't make a distinction between th e
17       Q I that -- what is your best estimate a to what           17   flights that were taking off for charter flights and the
 8   multiple mean s in numerical terms?                            18   flights that were taking off fo r flight in truction for
19       A Could be I 0. could be 20.                               19   Scanlon .
20       Q Okay. But somewhere in that range is your best           20       A That's right. And I'm -- I'm just -- I'm just
21   esti mate?                                                     21   reaffirming that distinction. I don 't know what was what
22       A Perhaps. As I said, I couldn't be precise. I             22   with Scanlon . I just know that they were flying.
23   wasn' t taking a log.                                          23       Q Okay. And so with Scanlon. the same e timate
24       Q I'm not asking for precision .                           24   applies in terms of your best estimate as to number of
2s          What I'm asking for is. as you sit here today.          25   flights per week between March and September, and to be

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 1   more specific that means between IO and 20 flights                    1   answer.
 2   approximately per week?                                               2       A My understanding is that they perform Part I 35
 3       A It may have been that, yes.                                     3   operations out of all locations .
 4      Q Is that your best estimate'>                                     4       Q Do you know where they keep the helicopters when
 5       A lt's my best guess.                                             5   they are not operating'>
 6      Q In terms of Surf Air's operations. the -- the                    6       A l don't know. I believe Oakland, but I -- I
 7   charter flights -- so same set of questions about                     7   can't be for sure.
 8   destinations and occupants. Could you tell -- or do you               8       Q At Gnoss, have you observed them have any, like.
 9   know, if anything. where those flights were taking off to?            9   physical location there in terms of office space or hangar
10      A 1 don't.                                                        10   space'>
11      Q I'm sorry, that was a mess ofa question . I -- I                11       A Io, they just operate out ofGnoss.
12   shudder to think how it appears on a tran script.                    12       Q So when you say "operate," that means they take
13         But I think --                                                 13   off and land?
14      A I know Surf Air doe a lot of charter to Tahoe.                  14       A Take off, land, refuel.
15      Q But it -- as you sit here today, you don't know                 15       Q And then same question as to Sausalito. Do they
16   where Surf Air was fl ying when it was taking those flights          16   ha ve office space in Sausalito'>
17   between March and September 2020'>                                   17       A They do have office pace in Sausalito. It's
18      A I don't know.                                                   18   more of a counter.
19      Q And you -- do you know anything about how many                  19       Q Let's break down their activities a little bit --
20   passengers Surf Air's fli ghts were carrying durin g that            20   with a little bit more detail.
21   time period?                                                         21         What do you remember about -- or what do you know
22      A I don't know. Simil ar 10 CB Sk-yshare, they fly                22   about SF -- SF Helicopter 's operations from March to
23   larger aircraft.                                                     23   July 2020'>
24      Q And do you have any knowledge about the reasons                 24       A They were operating.
25   any passengers in those airc raft ma y ha ve had to be               25       Q And is it fair to say yo u saw -- you observed
                                                              Pag e 261                                                         Pag e 263
 1   flying?                                                               1   them operatin g both in Sausalito and at Gnas --
 2       A I would not have that knowledge.                                2      A Yes.
 3       Q Let's move on to SF He li copters. What do you                  3      Q -- in that time period?
     know about SF Helicopters?                                                   A That is correct.
 5       A They're a very similar business to us, Part 135                 5      Q How many flights , approximately speaking, per
 6   and air tours.                                                        6   week did yo u observe SF Helicopters taking in that time
 7       Q So they do charter flights and also air tours ; is              7   period , March throu gh July 2020?
 8   that right?                                                           8      A I -- I -- I would ha ve to say, I can't be precise
 9       A That -- they -- that' correct, as Part 135                      9   abou t that. They generally do six flights a day out of
10   operator.                                                            10   Sausalito. And as to their operati ons of other locations,
11       Q And where does SF Helicopters operate out of'?                 11   I wouldn't ha ve know ledge of that.
12   Where are they based?                                                12      Q So let's break that down .
13       A They are based in Oakland. And they operate out                13         You don't have any reco llection of any specific
14   of Oakland , SFO, Sausalito, and Gnoss.                              14   number of fli ghts from -- in or out of Gno s Field from
15       Q Can yo u -- and I reali ze this is a very                      15   March to July 2020 by SF Helicopters?
16   ge neralized question, and I'll try to get more specific.            16      A We see their pilots here in Sausalito on a daily
17          But can you give me an understanding of what                  17   basis, and I do know that they were running charters to
18   their activities are in a general sense at each of th ose            18   and out of Gnoss.
19   locati ons?                                                          19      Q And how do you know that?
20       A I couldn't.                                                    20      A From the pilots themsel ves.
21       Q So do they --                                                  21      Q So they would -- they told you that they were
22          (Stenographer requested clarification.)                       22   running flights to and from Gnoss Field from the March
23   BY MR. HALTER :                                                      23   through July 2020 time frame?
24       Q And, Mr. Singer, I'm sorry I started talking                   24      A Pilots talk to each other, where are yo u going?
25   before you had finished answering. So I will let yo u                25   What are you un to? So yes. we did know that they were

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 1 flying charter to Gnoss.                                            1   SF Helicopters' operation out of Sausalito between July
 2     Q I'm not asking what you know. What I'm asking is              2   and August 2020?
 3 what they told you. So you're saying that --                        3       A I don't recall.
 4     A They were flying charters to Gnoss.                           4       Q What do you recall , if anything, about
 s     Q In the March through September 20 -- sorry,                   5   SF Helicopters' operation out ofGnoss Field between
 6 July -- I butchered that.                                           6   July and August of 2020?
 7        Just to close the loop. you're saying that                   7       A Only what I've heard from the pilot ; that they
 8 they're -- the helicopter pilots told you that they were            8   were occa ionally doing charter out of there.
 9 running charter flights between ausalito and Gnoss Field            9       Q Which pilot did you hear that from?
10 in between March and July 2020?                                    10       A SF Helicopters pi lo ts.
11     A That is correct.                                             11       Q Is there more than one of them?
12     Q And do you recall anyth ing about the number of              12       A I don't know what their pilot ro ter is.
13 flights they flew?                                                 13       Q Okay. But you talked to more than one
14     A No.                                                          14   SF Helicopter pilot about their operations in July an d
15     Q Do you recall anything about the number of                   15   August 2020?
16 passengers that they had on any of those flights. if any?          16      A Yes.
17     A No. They tended to -- to fly pretty full . Five              17       Q How many pilots did you speak to?
18 to six passengers.                                                 18      A Whoever wa flying at the time.
19     Q Do you have any knowledge a to what purpose                  19      Q Do you remember any of their names?
20 those passengers had for having flights on the Gnoss Field         20      A Yes.
21 to Sausalito flights?                                              21      Q And what are the ir names that you remember?
22      A    o.                                                       22      A Ron is really the -- the -- the one that I --
23     Q And is it fair to say that SF Helicopters also               23   that I can remember.
24   ran flights from -- between Sausalito and San Francisco or       24      Q Do you know hi last name?
25   Oakland in that same time period, March through July 2020?       2s      A I don't.
                                                           Page 265                                                           Page 267
 1       A Yes, it is fair 10 say that.                                1     Q Do you remember any -- speaking to any other
 2       Q And is your knowledge of th o e flight al o based           2   pilot about F Helicopters's operations in July and
 3   on conver ati ons with those pilots?                              3   August 2020?
 4       A Direct observation. I'm not sure I under tand               4       A They have oth er pilots. I know SF Helicopter '
 5   your question.                                                    5   has had many of the same problems we have where they have
 6       Q Fair point.                                                 6   had a lot of pilots lo t over the time period.
 7         So you -- could you observe where those pilot               7      Q So my question is:
 8   where those helicopters were flying from your position in         8         Do you remember peaking with any oth er
 9   Sausalito?                                                        9   SF Helicopter pilot about their operations between --
10       A Oh. No, we can't. But we're on the radio as                10       A I do.
11   we're -- you know, especially at -- when we're flying to         11      Q -- July and August 2020?
12   their de tina tion . o -- but I can't be preci e about           12       A I do, but I don't remember their names. Their --
13   where they were flying. I just know they were taking off         13   they -- they've had numerous pilots over the year .
14   at Sausalito.                                                    14      Q And what do you remember those SF Helicopter
15       Q And do you know anything about -- or what do you           15   pilot telling you about their operations between July and
16   know, if anything. about which of those flights were             16   August 2020?
17   charter flight versus air tour ?                                 17       A That they were operating Part I35 charter.
18       A Don't know.                                                18      Q Anything else?
19       Q Tow. from -- let's take the July through the               19       A o. I'm not sure what...
20   August -- July through August 2020 time frame .                  20      Q Do you -- did they ever mention anything about
21         What do you recall , if anything. about                    21   operating air tours between Jul y and August 2020?
22   SF Helicopters's operati ons in Sausalito in that period?        22       A I don 't know that.
23       A I -- I'm sorry, I -- could you restate the first           23      Q So as you sit here today. you have no knowledge
24   part of tha t question?                                          24   about their -- SF Helicopters operating any air tour
25          What do you recall, if an thin , about                    25   between July and Au ust 2020?

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 1    A They're a separate company and if they were, you             1 County?
 2 know, flying directly out of Sausalito, I don't know what         2     A They have operated out of San Rafael. It's a
 3 they were doing.                                                  3 private airport.
 4       MR. HALTER: Amanda, can you read back the                   4     Q As you sit here today, when do you remember them
 5 question?                                                         5 operating out of San Rafael's private airport?
 6             (Record read as follows:)                             6     A Over the years.
 7       THE STENOGRAPHER:                                           7     Q Do you remember them operating out of
 8              Q So as you sit here today, you                      8 San Rafael's airport in 2020?
 9          have no knowledge about their --                         9     A I do not.
1o          SF He! icopters operating any air tours                 1o     Q And I'm making a leap here based on their name.
11          between July and August 2020?                           11 They fly helicopters; is that right?
12       THE WITNESS: I don't have specific knowledge               12     A Correct.
13 about that.                                                      13     Q Do they operate any -- operate any other
14 BY MR. HALTER:                                                   14 aircraft, to you r know ledge?
15    Q Do you have any knowledge what oever about that?            15     A To my knowledge, no. But I -- I don't know.
16    A That's a broad question. What -- what are you               16     Q And you said they operate air tours, to your
17 asking me?                                                       17 knowledge; i that ri ght?
10    Q Well , I asked whether you have any knowledge               18     A That is correct.
19 about SF Hel icopters operating air tours between July and       19     Q Do they do any charter services?
20 Augus t 2020, and I believe your answer was you have no          20     A l do not know.
21 specific knowledge.                                              21     Q A you it here today, do you know if they
22    A Right.                                                      22 conducted any air tours in Marin County in 2020?
23    Q What I'm trying to understand --                            23     A That's a -- a -- a fairly discreet airspace
24    A I don't know.                                               24 location . They were conducting air tours in the Bay area
25    Q -- is. do you have any other knowledge?                     25 at that time.
                                                        Page 269                                                          Page 271
 1       A I don't have any knowledge of what SF Helicopters         1      Q Okay. But my question is more, were they
 2   specifically was doing. It's not my company.                    2   operating -- do you know whether they were operating out
 3       Q Let's move down to the compan ies mentioned in            3   of Marin County in 2020?
 4   Paragraph 88. You have two companies there. The first           4      A I do not know.
 5   one, JSX Airline. What do you know about JSX Airline?           5      Q Scrolling back up to Paragraph 86 (reading):
 6       A l need a second to read this. It's very small.            6                   Seaplane alleges that the
 7       Q I can blow it up for you. Sorry about that.               7             County permined other imilarly
 8       A That'd be great. Thank you.                               8             situated busine ses in Marin County to
 9          Okay.                                                    9             continue operating. These businesses
10       Q So, Mr. Singer, what do you know about                   10             include, but are not limited to, charter
11   JSX Airline?                                                   11             boats and airlines operating out of
12       A They're a chaner operator out of the East Bay.           12             Gno s Field Airport. Just a few
13       Q Do they have any operations --                           13             examples of other some busine es
14       A Actually, they're -- I believe they're pan --            14             include.
15   they may be beyond Part 135 as well. but I don't know.         15         And then it has that list.
16   l -- I didn't -- l don't know a ton about these guys.          16         What other businesses wou ld fall within this
17       Q Do you know whether they have any -- JSX Airline         17   description?
1s   has any operations in Marin County?                            10         MR. SHARP: Can you be more specific about "thi
19       A I don't know.                                            19   description ," Brandon?
20       Q What do you know about Geo Heli , the second             20         MR. HALTER: Sorry.
21   company listed there?                                          21   BY MR. HALTER:
22       A Air tour company. They ma y do other things as           22      Q The description that you're using here for the
23   well. But I don't know wha t -- I don't know whether           23   capitali zed term "other businesses," and it has a list A
24   they're Part 135 or -- or not.                                 24   through G of businesses that Seaplane considers
25       O What airport do they operate out ofin Marin              25   capitalized tern, "other businesses." But the comolaint

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 1   say that there are other businesse included in that              1   anything else other than boat charters, bus tours, and a
 2   definition that aren't li sted here, and I'm wondering what      2   company called Sea Trek; is that right ?
 3   other businesses are there that fall within this                 3      A Yes. Well, if you're going to be broad, the --
 4   definition, to you 'l                                                the malls were opening up. There were several restaurants
 5      A There were chaner boat businesses operating out             5   that were opening up indoor services. Indoor retail was
 6   of Sausalito and out of -- all -- all over the Bay area.         6   opening up.
 7        Q Is there any other -- I'm sorry to keep using             7      Q Mr. Singer, this isn't my te1m. I'm not being
 8   that tern, -- are there any other businesses other than the      8   broad . What I'm asking is :
 9   charter boat businesses that are --                              9         What is Seaplane -- what is Seaplane say ing that
10        A I don't know.                                            10   the County did in terms of the way it should have treated
11        Q -- included in this definition , but not listed on       11   these businesses.
12   thi s page?                                                     12      A And I'm -- I'm answering your question.
13        A There were bus tour bu si nesses that were also          13      Q Okay.
14   staning to operate at that time .                               14      A Best of my ab ili ty.
15       Q Okay. Anything else'l                                     15      Q So in yo ur mind, the similarly ituated
16       A I mean, the economy was opening up. so there were         16   businesses that Marin conti nu ed -- or allowed to continue
17   a lot of businesses operating.                                  17   operating, and that's the term that you've defined in
18       Q I understand that.                                        18   your -- the -- th e other businesses, capitalized term,
19          And I -- aga in , Mr. Singer, I'm not trying to          19   includes charter boats, bus tours , a company called
20   trick you. I'm not tryi ng to trick you into making             20   Sea Trek . malls, restaurants --
21   admissions you're not making. What I'm trying to get is         21      A And -- and I would say --
22   information about what you're alleging against my client        22       MR. SHARP : Aaron --
23   and not alleging. And it seems like what thi complaint          23   BY MR. HALTER :
24   is saying, is there are these categories of businesses out      24     Q I -- Mr. Singer, I -- I need to fini sh.
25   there called other businesses, it's a capitalized term in       25      A Sorry. My fault.
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 1   your complaint, and so me of them are li sted here, but          1      Q Malls, restaurants, and indoor retail : is that
 2   there' s o th ers ou t th ere that are not listed .              2   right'l
 3          So far you've li sted -- yo u've told me that other       3      A That's correct.
     bu inesses also includes charter boat companie and tour          4      Q Are there any other categories that you would
 5   bus operators. Are th ere any others beyond that 'l              5   include within that definition ?
 6      A There may be. Those were -- those are the ones              6      A Well , in -- in the vein of ea Trek, other
 7   that I ca n think of ri ght now when you're ask in g me the      7   outdoor and tour-related businesses.
 8   question .                                                       8      Q Anything else?
 9      Q So as yo u sit here today , you can't identify any          9      A Not that I can think ofat thi moment.
10   other businesses, speci fica ll y'l                             10      Q Wh at can you tell me about Sea Trek and other
11      A I can -- I don't understand the quest ion. I --            11   outdoor tour-related businesses, what you meant by that'l
12   1 -- I can identify lots of businesses.                         12      A Their boat tour -- boat tour, boa t charter
13       Q Right.                                                    13   bu sinesses. The Bay Model. Matthew Turner, which are all
14          But I'm lookin g for businesses that you would           14   operating in the -- in th e -- in similar business segments
15   consider to fa ll under the definition of other businesses,     15   to Seaplane.
16   the capitalized tenn here.                                      16      Q And as far as -- as -- none of these companies
17       A Yes.                                                      17   that you've just mentioned operate ai rcra ft; is that
18       Q Okay . And w hat are they?                                18   right ?
19       A As I said. boat c haner. There were tour bus --           19      A That is correct.
20   tour -- bus tours that we re operating. There were also         20      Q All right. Mr. Singer. I'm goi ng to swi tch to
21   other businesses at the tim e. Sea Trek , which is kayaks       21   Exhibit 8, w hich I -- what I prema rked as Exhibit 8.
22   and thin gs of that nature.                                     22                 (Exhibit 8 was
23       Q Anything e lse'>                                          23             marked for identification .)
24       A Not that I can thin k of thi s moment.                    24        MR. HALTER: Pulling that up on your screen, it's
25       0 So as yo u sit here todav. vo u can not think of          25   a document marked Plaintiff Sea plane Adventures, LLC's

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